                       Case 2:18-ap-01315-NB            Doc 15 Filed 12/07/18 Entered 12/07/18 13:36:14                 Desc
                                                          Main Document Page 1 of 2


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                                                                                               CLERK U.S. BANKRUPTCY COURT
                                                                                               Central District of California
                                6   Attorneys for US Claims Opco, LLC                          BY sumlin     DEPUTY CLERK
                                    and DRB Capital, LLC,
                                7   Secured Creditors and Defendants

                                8
                                                           UNITED STATES BANKRUPTCY COURT
                                9
                                                            CENTRAL DISTRICT OF CALIFORNIA
                           10
                                                                     LOS ANGELES DIVISION
                           11
                                    In re                                         Case No. 2:17-bk-19548-NB
                           12
                                    LAYFIELD & BARRETT, APC,                      Chapter 11
                           13
                                                        Debtors.                  Adv. Case No. 2:18-ap-01315-NB
                           14

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                           16                                                     ORDER APPROVING SECOND
                                    PHILIP JAMES LAYFIELD,                        STIPULATION BY DEFENDANTS US
                           17                                                     CLAIMS OPCO, LLC AND DRB
                                                        Plaintiff,                CAPITAL, LLC AND PLAINTIFF
                           18                                                     PHILIP LAYFIELD RE EXTENSION
                                    vs.                                           OF TIME TO FILE RESPONSES TO
                           19                                                     COMPLAINT
                                    RICHARD PACHULSKI; ADVANCED
                           20       LEGAL CAPITAL, LLC; US CLAIMS                 Status Conference:
                                    OPCO, LLC; DRB CAPITAL, LLC,
                           21                                                     Date:    December 18, 2018
                                                        Defendants.               Time:    11:00 a.m.
                           22                                                     Ctrm.:   1545
                                                                                           U.S. Bankruptcy Court
                           23                                                              255 E. Temple Street
                                                                                           Los Angeles, CA 90017
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                           28       BN 34652511v1                             1
     B UCHALTER                     ORDER APPROVING SECOND STIPULATION BY DEFENDANTS US CLAIMS OPCO, LLC AND DRB
A PROFES SION AL CORPORAT ION
        LOS ANG ELES
                                    CAPITAL, LLC AND PLAINTIFF PHILIP LAYFIELD FOR ORDER GRANTING EXTENSION OF TIME
                                                             TO FILE RESPONSES TO COMPLAINT
                                    BN 34828256v1
                       Case 2:18-ap-01315-NB                 Doc 15 Filed 12/07/18 Entered 12/07/18 13:36:14              Desc
                                                               Main Document Page 2 of 2


                                1           The Court has reviewed the Second Stipulation by Defendants US Claims Opco, LLC and

                                2   DRB Capital, LLC and Plaintiff Philip Layfield Re Extension of Time to File Responses to

                                3   Complaint (the “Stipulation”) between Philip Layfield, the plaintiff (“Plaintiff”) in the above-

                                4   captioned adversary proceeding (the “Adversary Proceeding”) in the above-captioned bankruptcy

                                5   case (the “Case”), and US Claims Opco, LLC (“USCO”) and DRB Capital, LLC (“DRB” and

                                6   collectively with USCO, “Defendants”), two named defendants in the Adversary Proceeding. For

                                7   good cause appearing,

                                8           IT IS ORDERED that the Stipulation is approved;

                                9           IT IS FURTHER ORDERED that the deadline by which Defendants are to file written

                           10       responses to the Complaint for 1. Declaratory Relief; 2. Breach of the Covenant of Good Faith

                           11       and Fair Dealing; 3. Interference with Contractual Relations; 4. Intentional Interference with

                           12       Prospective Economic Advantage; and 5. Negligence (the “Complaint”) commencing the

                           13       Adversary Proceeding, as well as all other pre-trial deadlines in the Adversary Proceeding, are

                           14       suspended and shall not be re-set except by order of the Court (the “Extension”); and

                           15               IT IS FINALLY ORDERED that the Extension is without prejudice to the right of either

                           16       of Defendants to seek further extensions of the Response Deadline.

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                                    Date: December 7, 2018
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                           28       BN 34652511v1                                    2
     B UCHALTER                      ORDER APPROVING SECOND STIPULATION BY DEFENDANTS US CLAIMS OPCO, LLC AND DRB
A PROFES SION AL CORPORAT ION
        LOS ANG ELES
                                     CAPITAL, LLC AND PLAINTIFF PHILIP LAYFIELD FOR ORDER GRANTING EXTENSION OF TIME
                                                              TO FILE RESPONSES TO COMPLAINT
                                    BN 34828256v1
